Case 19-30914-JNP          Doc 117     Filed 10/27/23 Entered 10/27/23 11:33:02         Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-2(c)

JENKINS LAW GROUP
Jeffrey E. Jenkins, Esquire
412 White Horse Pike
Audubon, NJ 08106
(856)546-9696
Attorney for Debtor
 In Re:                                              Case No.:                  19-30914
                                                                          ____________________

Daniel Costello Jr.                                  Adv. No.:            ____________________
Debtor
                                                     Hearing Date:          11/1/23 at 9:00 am
                                                                          ____________________

                                                     Judge:                       JNP
                                                                          ____________________




                                 CERTIFICATION OF SERVICE

1.        I, ____________________________
                  Sophia Aguirre Herrera  :

           represent the _____________________ in the above-captioned matter.
          ✔ am the secretary/paralegal for ____________________,
                                             Jeffrey E. Jenkins who represents the
          _______________
              Debtor(s)   in the above captioned matter.

           am the ______________________ in the above case and am representing myself.



2.        On _______________________
                     10/27/23        , I sent a copy of the following pleadings and/or documents to the
          parties listed in the chart below:

          MODIFIED CHAPTER 13 PLAN




3.        I hereby certify under penalty of perjury that the above documents were sent using the mode of
          service indicated.



       10/27/23
Dated: _______________________                        __________________________________
                                                      /s/ Sophia Aguirre Herrera
                                                      Signature
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 Name and Address of Party Served           Relationship of               Mode of Service
                                           Party to the Case

Andrew Finberg                                                  Hand-delivered
535 Route 38, Suite 580                                         Regular mail
Cherry Hill, NJ 08002
                                                                Certified mail/RR
                                                   Trustee      E-mail
                                                               ✔ Notice of Electronic Filing (NEF)
                                                               
                                                                Other ______________________
                                                                 (as authorized by the court *)

Rocket Mortgage, LLC fka Quicken                                Hand-delivered
Loans, LLC                                                      Regular mail
635 Woodward Avenue
Detroit, MI 48226                                               Certified mail/RR
                                                   Creditor    ✔ E-mail
                                                               
Email:
bankruptcyquestions@rocketmortgage.c                            Notice of Electronic Filing (NEF)
om                                                              Other ______________________
                                                                 (as authorized by the court *)

                                                                Hand-delivered
                                                                Regular mail
                                                                Certified mail/RR
                                                                E-mail
                                                                Notice of Electronic Filing (NEF)
                                                                Other ______________________
                                                                 (as authorized by the court *)

                                                                Hand-delivered
                                                                Regular mail
                                                                Certified mail/RR
                                                                E-mail
                                                                Notice of Electronic Filing (NEF)
                                                                Other ______________________
                                                                 (as authorized by the court *)




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                                      Party to the Case
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                                                           Certified mail/RR
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                                                           Other ______________________
                                                            (as authorized by the court *)

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                                                            (as authorized by the court *)

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                                                                          Notice of Electronic Filing (NEF)
                                                                          Other ______________________
                                                                           (as authorized by the court *)


 * May account for service by fax or other means as authorized by the court through the issuance of an Order
 Shortening Time.

                                                                                                         new.3/15/12


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